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To whom it may concern,

I am writing to provide a character reference for Oren Alexander in relation to his request for bail. I
had the privilege of knowing Oren Alexander for the last 12 years, and during this time, I have come
to know him as hard working, devoted family man and a active member of our community.

Oren Alexander has consistently demonstrated a strong moral character and deep commitment to
his family and friends. He is a loving husband/friend/brother/and now a father. Who always put the
well-being of his loved ones ﬁrst. Additionally, his involvement in community activities, including
volunteering, religious activities and local programs, has made a positive impact on those around
him.

In his professional life, Oren Alexander is known for dedication, reliability, and integrity. He has
always been a person who takes his responsibilities seriously and works hard to provide for his
family and contribute to society.

I ﬁrmly believe that Oren Alexander is not a ﬂight risk and will strictly adhere to any conditions
imposed by the court.

I respectfully ask the court to Grant Oren Alexander the opportunity for bail, allowing him to
continue supporting his family and addressing his legal matters responsibly. Please do not hesitate
to contact me if further information is required.

Thank you for your time and consideration in this matter.

Martin Lipton
